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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF ILLINOIS
                           EAST ST. LOUIS DIVISION
                                    :
In re:                              :
                                    :
    Mike A. Frerking AKA Michael    :  Case No.: 18-31385
    Anthony Frerking                :  Chapter 7
                                    :  Judge Laura K. Grandy
       Debtor.                      :  *********************
                                    :

MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND FOR ABANDONMENT
          OF PROPERTY OF THE ESTATE (FIRST MORTGAGE)

       U.S. Bank National Association, as Trustee for Specialty Underwriting and Residential

Finance Trust Mortgage Loan Asset-Backed Certificates, Series 2006-BC3 ("Creditor"), hereby

moves the Court ("Motion"), pursuant to 11 U.S.C. § 362(d) to lift the automatic stay and for

abandonment of property under Bankruptcy Code §554 as to real property commonly referred to

as 143 South Mill Street, New Memphis, IL 62266 ("Property"). In support of the Motion, the

Movant states the following:

1.     The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This is a

       core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion are

       proper under 28 U.S.C. § 1408 and 1409.

2.     Mike A. Frerking AKA Michael Anthony Frerking (''Debtor'') filed a Chapter 7 case on

       September 24, 2018, ("Petition Date").

3.     As of the Petition Date, the Movant was the holder of a claim secured by the Property,

       more particularly described in the mortgage ("Mortgage"), a copy of which is attached as

       Exhibit "A".



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4.   The above described Mortgage was given to secure an adjustable rate note, ("Note"),

     dated January 27, 2006 and made payable to the Movant in the original sum of

     $75,900.00. A copy of the Note is attached hereto as Exhibit "B".

5.   The Movant perfected an interest in the Property, more particularly described in the

     Mortgage, recorded in the Clinton County Recorder's Office on January 31, 2006.

     Evidence of perfection is attached as Exhibit "A".

6.   Attached are redacted copies of any documents that support the claim, such as promissory

     notes, purchase order, invoices, itemized statements of running accounts, contracts,

     judgments, mortgages, and security agreements in support of right to seek a lift of the

     automatic stay and foreclose if necessary.

7.   As of September 27, 2018, the outstanding principal of the Note was $71,832.41 and the

     outstanding interest was $726.38.

8.   The Property is burdensome and/or of inconsequential value and benefit to the estate.

     Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

     these reasons:

     a. Debtor has no equity in the Property. Movant believes that the Property has a value

        of $27,000.00 based on the Debtor's Schedule A, which is attached hereto as Exhibit

        "C". As of September 27, 2018 the estimated principal balance is $71,832.41 with

        additional interest estimated at $726.38, escrow advances of $47.34 and a recoverable

        balance of $6,031.66 totaling a secured claim of approximately $78,637.69. After the

        costs of sale and payment of all liens on the Property, there will be effectively no

        equity in this Property. Based upon the lack of equity in the Property, Movant asserts



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           that the Property is burdensome and/or of inconsequential value and benefit to the

           estate.

       b. The Movant is not being adequately protected. Per the Note and Mortgage, payments

           are applied to the last month due. Based on the foregoing, Debtor has failed to make

           periodic payments to Creditor since August 1, 2018 through September 2018, as of

           September 27, 2018.

       c. Debtor intends to surrender the Property located at 143 South Mill Street, New

           Memphis, IL 62266 according to the Statement of Intent filed.

       WHEREFORE, Creditor prays for an Order Terminating the Automatic Stay of 11 U.S.C.

§ 362 of the Bankruptcy Code and for abandonment of property under Bankruptcy Code §554 as

to the Creditor and its principal, successors, heirs and assigns with respect to the subject property

located at 143 South Mill Street, New Memphis, IL 62266. Additionally, Creditor requests the

Fed.R.Bankr.P. 4001(a)(3) be waived so that the Order Terminating the Automatic Stay have

immediate effect.

                                                      Respectfully submitted,
                                                        /s/ Umair Malik
                                                      Umair M. Malik (6304888)
                                                      Todd J. Ruchman (6271827)
                                                      Keith Levy (6279243)
                                                      Sarah E. Barngrover (28840-64)
                                                      Adam B. Hall (0088234)
                                                      Edward H. Cahill (0088985)
                                                      Manley Deas Kochalski LLC
                                                      P.O. Box 165028
                                                      Columbus OH 43216-5028
                                                      614-220-5611; Fax: 614-627-8181
                                                      Attorneys for Creditor
                                                      The case attorney for this file is Umair M.
                                                      Malik.
                                                      Contact email is ummalik@manleydeas.com

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay and for Abandonment of Property of the Estate (First Mortgage) was served on

the parties listed below via e-mail notification:

   U.S. Trustee, Nancy J. Gargula, Office of the United States Trustee, 401 Main Street, Suite
   1100, Peoria, IL 61602

   Donald M. Samson, 226 West Main Street, Suite 102, Belleville, IL 62220

   John J. Johnston, Attorney for Mike A. Frerking AKA Michael Anthony Frerking, Dixon and
   Johnston, 101 W Main St, Belleville, IL 62220, johnjohnston@dixonjohnston.com

The below listed parties, as well as the attached Creditor's matrix, were served via regular
U.S. Mail, postage prepaid, on October 3, 2018:

   Mike A. Frerking AKA Michael Anthony Frerking, 6630 Liebieg School Road, Mascoutah,
   IL 62258

   Jennifer Light, 143 S Mill Street, New Memphis, IL 62266

   Mike A. Frerking AKA Michael Anthony Frerking and Jennifer Light, 143 South Mill Street,
   New Memphis, IL 62266
                                                      /s/ Umair Malik




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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF ILLINOIS
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In re:                              :
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    Mike A. Frerking AKA Michael    :  Case No.: 18-31385
    Anthony Frerking                :  Chapter 7
                                    :  Judge Laura K. Grandy
       Debtor.                      :  *********************
                                    :


                               STATEMENT OF INTEREST

COMES NOW, U.S. Bank National Association, as Trustee for Specialty Underwriting and

Residential Finance Trust Mortgage Loan Asset-Backed Certificates, Series 2006-BC3

("Movant"), by and though its attorney Umair M. Malik and the law firm Manley Deas

Kochalski LLC provides this statement:

   1. Upon information and belief, the following additional entities have interest in that

       Collateral:

   a. Jennifer Light

                                                    Respectfully submitted,
                                                      /s/ Umair Malik
                                                    Umair M. Malik (6304888)
                                                    Todd J. Ruchman (6271827)
                                                    Keith Levy (6279243)
                                                    Sarah E. Barngrover (28840-64)
                                                    Adam B. Hall (0088234)
                                                    Edward H. Cahill (0088985)
                                                    Manley Deas Kochalski LLC
                                                    P.O. Box 165028
                                                    Columbus OH 43216-5028
                                                    614-220-5611; Fax: 614-627-8181
                                                    Attorneys for Creditor
                                                    The case attorney for this file is Umair M.
                                                    Malik.

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                                          Contact email is ummalik@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Statement of Interest was

served on the parties listed below via e-mail notification:

   U.S. Trustee, Nancy J. Gargula, Office of the United States Trustee, 401 Main Street, Suite
   1100, Peoria, IL 61602

   Donald M. Samson, 226 West Main Street, Suite 102, Belleville, IL 62220

   John J. Johnston, Attorney for Mike A. Frerking AKA Michael Anthony Frerking, Dixon and
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   Jennifer Light, 143 S Mill Street, New Memphis, IL 62266

   Mike A. Frerking AKA Michael Anthony Frerking and Jennifer Light, 143 South Mill Street,
   New Memphis, IL 62266
                                                       /s/ Umair Malik




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Label Matrix for local noticing       Case 18-31385-lkg      Doc 8
                                                 Mike A. Frerking               Filed 10/03/18         Page Infinity
                                                                                                             8 of 8 Meds LLP/Americollect
0754-3                                                 6630 Liebieg School Road                              PO Box 1566
Case 18-31385-lkg                                      Mascoutah, IL 62258-4032                              1851 South Alverno Road
Southern District of Illinois                                                                                Manitowoc, WI 54220-9208
East St Louis
Wed Oct 3 09:34:13 CDT 2018
John J Johnston                                        Umair M Malik                                         Med Resources
Dixon and Johnston                                     Manley Deas Kochalski LLC                             Choice Recovery
101 W Main St                                          PO Box 165028                                         1550 Old Henderson Road
Belleville, IL 62220-1501                              Columbus, OH 43216-5028                               Suite 100
                                                                                                             Columbus, OH 43220-3626

Mr. Cooper/Nationstar Mortgage LLC                     Donald M. Samson                                      (p)SCOTT CREDIT UNION
8950 Cypress Waters Blvd.                              Chapter 7 Trustee                                     101 CREDIT UNION WAY
Coppell, TX 75019-4620                                 226 W Main St                                         EDWARDSVILLE IL 62025-3504
                                                       Suite 102
                                                       Belleville, IL 62220-1504

Seterus, Inc.                                          United States Trustee
Attn: Bankruptcy                                       Becker Bldg, Room 1100
Po Box 1077                                            401 Main St
Hartford, CT 06143-1077                                Peoria, IL 61602-1267




                      The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                      by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Scott Credit Union
Attn: Bankruptcy Department
302 W. Winters Street
Scott Air Force Base, IL 62225




                    The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Jennifer Light                                      (u)U.S. Bank National Association, as Trustee         (du)U.S. Bank National Association, as Truste




End of Label Matrix
Mailable recipients      10
Bypassed recipients       3
Total                    13
